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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MARYLAND
                          BALTIMORE DISTRICT

Ralph Krulder                                *
4748 Voorhees Road
New Port Richey, FL 34653                    *

And                                          *

Marie Krulder                                *
4748 Voorhees Road
New Port Richey, FL 34653                    *

      Plaintiffs,                            *

vs.                                          *      Case No.:

Sarah Ann Smith                              *
1515 Windham Ct,
Salisbury, MD 21804                          *

      Defendant                              *

******************************************************************
               COMPLAINT AND REQUEST FOR JURY TRIAL

      Ralph Krulder and Marie Krulder, Plaintiffs, by their attorneys, Paul J. Weber,
Amanda C. Sprehn and Hyatt & Weber, P.A., sues Sarah Smith (hereinafter “Smith”)
and states:

       1.     Plaintiffs, Ralph and Maria Krulder are residents of Pasco County,
Florida.

       2.     Defendant, Smith is a resident of Wicomico County, Maryland.
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       3.     This Court has jurisdiction over this lawsuit pursuant to 28 U.S.C. §
1332(a) because: 1) the amount in controversy exceeds the sum or value of
$75,000, exclusive interest and costs; and 2) Plaintiffs, Ralph and Marie Krulder
state of citizenship, Florida, is different from Maryland, the state of citizenship of
Defendant, Sarah Smith.

      4.      Venue is appropriate in this Court pursuant to 28 U.S.C. § 1391(b)
because Defendant, Sarah Smith is a resident of a county in the district in which
this Court is located and, additionally, because the events giving rise to the claim
occurred within this judicial district.

      5.      On or about June 11, 2020, the Defendant, Sarah Smith was operating
her vehicle on Ritchie Highway at its intersection with Pasadena Road in Anne
Arundel County, Maryland.

       6.     On or about June 11, 2020, Plaintiff, Marie Krulder was operating her
vehicle on Ritchie Highway at its intersection with Pasadena Road in Anne Arundel
County, Maryland. Plaintiff, Marie Krulder was operating a 2015 Toyota SRV and
the Defendant, Smith was operating a 2011 Buick Enclave. Defendant, Sarah Smith
cause her vehicle to strike the rear of the Plaintiff, Marie Krulder’s vehicle.
                                   COUNT I
                                 NEGLIGENCE
                           Marie Krulder v. Sarah Smith

      7.      The Plaintiffs adopts paragraphs 1-6 as if stated herein.

      8.      Defendant, Smith operated her vehicle in a careless, reckless, and

negligent manner in that she:
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       a.      Failed to yield the right-of-way to the Plaintiff's vehicle;
       b.      Failed to reduce speed in time to avoid a collision;
       c.      Failed to maintain proper and adequate control of her motor vehicle;
     d.     Failed to keep a proper lookout for other vehicles lawfully upon the
highway as to her perspective course of travel;
       e.      Failed to steer her motor vehicle in a manner and in time to avoid a
collision;
      f.     Failed to observe due care and precaution for the safety of other
vehicles and their occupants;
      g.   Operated, managed and controlled her motor vehicle in a careless and
dangerous manner under the circumstances then and there existing;
      h.   Operated, managed and controlled her motor vehicle in a careless and
dangerous manner when approaching the Plaintiff's vehicle;
       i.      Followed too closely to the vehicle in front of the Defendant;
       j.      Operated her vehicle at a speed excessive under the circumstances;
       k.      failed to observe and obey an illuminated red light.
      l.    and in other respects said Defendant was otherwise careless, reckless
and negligent.

       9.      Defendant, Smith owed the Plaintiff, Marie Krulder a duty of care to
operate her vehicle in a proper fashion, and breached this duty of care by allowing
her vehicle to strike the Plaintiff’s vehicle.

       10.     Defendant, Smith’s negligence proximately caused Plaintiff, Marie
Krulder to suffer severe and traumatic injury and to suffer great mental anguish, loss
of work and wages both presently and in the future. All such injuries were caused
solely by the negligence of Smith without any negligence by Marie Krulder.
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       11.     That as a further result of the negligence of the Defendant, Smith, the
Plaintiff, Marie Krulder, was caused to incur indebtedness to doctors, x-ray
technicians and other medical specialists, for treatment of her injuries.

       12.     That all of the foregoing injuries, damages and losses were the result of
the carelessness, recklessness and negligence of the Defendant, Smith, and were not,
in any way, attributable to the Plaintiff, Marie Krulder, who was at all times
exercising due care, and was not in any way negligent or contributorily negligent
either directly or indirectly.

       WHEREFORE, the Plaintiff, Marie Krulder, demands judgment against
Defendant, Sarah Smith in the amount in excess of Seventy Five Thousand Dollars
($75,000.00) in compensatory damages, plus interest and costs.
                                    COUNT II
                                  NEGLIGENCE
                            Ralph Krulder v. Sarah Smith
       13.     The Plaintiffs adopts paragraphs 1-6 as if stated herein.

       14.     Defendant, Smith operated her vehicle in a careless, reckless, and
negligent manner in that she:
       a.      Failed to yield the right-of-way to the Plaintiff's vehicle;
       b.      Failed to reduce speed in time to avoid a collision;
       c.      Failed to maintain proper and adequate control of her motor vehicle;
     d.     Failed to keep a proper lookout for other vehicles lawfully upon the
highway as to her perspective course of travel;
       e.      Failed to steer her motor vehicle in a manner and in time to avoid a
collision;
      f.     Failed to observe due care and precaution for the safety of other
vehicles and their occupants;
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      g.   Operated, managed and controlled her motor vehicle in a careless and
dangerous manner under the circumstances then and there existing;
      h.   Operated, managed and controlled her motor vehicle in a careless and
dangerous manner when approaching the Plaintiff's vehicle;
       i.      Followed too closely to the vehicle in front of the Defendant;
       j.      Operated her vehicle at a speed excessive under the circumstances;
       k.      failed to observe and obey an illuminated red light.
      l.    and in other respects said Defendant was otherwise careless, reckless
and negligent.

       15.     Defendant, Smith owed the Plaintiff, Ralph Krulder a duty of care to
operate her vehicle in a proper fashion, and breached this duty of care by allowing
her vehicle to strike the vehicle being operated by Plaintiff, Marie Krulder in which
Ralph Krulder was a passenger.

       16.     Defendant, Smith’s negligence proximately caused Plaintiff, Ralph
Krulder to suffer severe and traumatic injury and to suffer great mental anguish. All
such injuries were caused solely by the negligence of Smith without any negligence
by Ralph Krulder.

       17.     That as a further result of the negligence of the Defendant, Smith, the
Plaintiff, Ralph Krulder, was caused to incur indebtedness to doctors, x-ray
technicians and other medical specialists, for treatment of his injuries.

       18.     That all of the foregoing injuries, damages and losses were the result of
the carelessness, recklessness and negligence of the Defendant, Smith, and were not,
in any way, attributable to the Plaintiff, Ralph Krulder, who was at all times
exercising due care, and was not in any way negligent or contributorily negligent
either directly or indirectly.
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      WHEREFORE, the Plaintiff, Ralph Krulder, demands judgment against
Defendant, Sarah Smith in the amount in excess of Seventy Five Thousand Dollars
($75,000.00) in compensatory damages, plus interest and costs.
                                      Respectfully submitted,


                                              /s/ Paul J. Weber
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                                      Amanda C. Sprehn (Bar No. 28071)
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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MARYLAND
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Ralph Krulder                                       *
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And                                                 *

Marie Krulder                                       *
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        Plaintiffs,                                 *

vs.                                                 *       Case No.:

Sarah Ann Smith                                     *
1515 Windham Ct,
Salisbury, MD 21804                                 *

        Defendant                                   *

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                                PRAYER FOR JURY TRIAL
        The Plaintiffs, Marie and Ralph Krulder, pray for a trial by jury in the above-captioned
case.
                                                    /s/ Paul J. Weber
                                            Paul J. Weber (Bar No. 03570)
                                            Amanda C. Sprehn (Bar No. 28071)
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                                            Counsel for Plaintiffs
